240 F.2d 847
    Ben Sherman REEDv.UNITED STATES of America.
    No. 5550.
    United States Court of Appeals Tenth Circuit.
    January 4, 1957.
    
      Appeal from the United States District Court for the Eastern District of Oklahoma.
      Anthis &amp; Gotcher, Muskogee, Okl., and Willard Gotcher, McAlester, Okl., for appellant.
      Frank D. McSherry, U. S. Atty., Muskogee, Okl., for appellee.
      Before BRATTON, Chief Judge, and HUXMAN and LEWIS, Circuit Judges.
    
    
      1
      Docketed and dismissed on motion of appellant.
    
    